               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                    CASE NO. 2:13-CR-16-MR-DLH-3


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
         vs.                     )                    ORDER
                                 )
TOMMY GENE QUEEN,                )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss with prejudice only the Defendant Tommy Gene Queen from the Bill

of Indictment. [Doc. 165] The Court concludes, pursuant to Fed.R.Crim.P.

48(a), that the Government’s Motion should be allowed.

     IT IS, THEREFORE, ORDERED that only the Defendant Tommy Gene

Queen is hereby dismissed with prejudice from the Bill of Indictment filed

herein.

     IT IS SO ORDERED.

                           Signed: May 6, 2015




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